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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                                for the
                                                    Northern District
                                                  __________  DistrictofofCalifornia
                                                                           __________


                  United States of America                         )
                             Plaintiff                             )
                                v.                                 )      Case No.   3:21-cr-00155-JD
                       Carlos E. Kepke                             )
                            Defendant                              )

                                                      APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          United States of America                                                                                            .


Date:          06/08/2022                                                                   /s/ Boris Bourget
                                                                                            Attorney’s signature


                                                                                Boris Bourget (MD Bar No. 2109080015)
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